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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    CENTRAL DIVISION
                                       FRANKFORT


 MID-AMERICA MILLING COMPANY,
 LLC, et al.,

                Plaintiffs,
                                                         Case No. 3:23-cv-00072-GFVT
        v.

 UNITED STATES DEPARTMENT OF
 TRANSPORTATION, et al.,

                Defendants.


             DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

       The U.S. Department of Transportation (DOT)’s Disadvantaged Business Enterprise (DOT

DBE) program, which has been authorized repeatedly by Congress, is designed to provide fair and

efficient small business contracting, including by remedying ongoing discrimination and the

continuing effects of past discrimination in federally assisted highway, transit, and airport

contracting markets nationwide. See 49 C.F.R. § 26.1. To this end, the program requires DOT

grant and funding recipients to set subcontracting goals on transportation projects for socially and

economically disadvantaged small businesses, known as DBEs, based on local market conditions.

Id. § 26.45(b). The DOT DBE program does not set aside contracts or impose quotas for certain

races or genders. Id. § 26.43. Instead, DOT requires each funding recipient, such as a state

transportation agency, to calculate a local goal for participation by DBEs based on their availability

and other factors. Id. § 26.45(c)–(d). Recipients must pursue these goals using race- and gender-

neutral means to the maximum extent possible. Id. § 26.51(a). If they are unable to achieve their

goals using race- and gender-neutral means, they set DBE participation goals on certain individual
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contracts, and prime contractors on those contracts must make good faith efforts to subcontract

enough work to DBE firms to meet those goals. Id. §§ 26.51(d)–(e), 26.53.

       Any person may qualify as socially and economically disadvantaged (a prerequisite for

DBE status), regardless of their race or gender. 49 C.F.R. § 26.67(d) & app. E. The only explicit

race- or gender-based aspects of the DOT DBE program are the rebuttable presumptions of social

and economic disadvantage afforded to small business owners who are women or members of

certain racial and ethnic minority groups. 49 C.F.R. § 26.5. Every court of appeals to consider the

constitutionality of the DOT DBE program has upheld it. See Midwest Fence Corp. v. U.S. Dep’t

of Transp., 840 F.3d 932, 941, 935–36 (7th Cir. 2016); W. States Paving Co. v. Wash. State Dep’t

of Transp., 407 F.3d 983, 995 (9th Cir. 2005); Sherbrooke Turf, Inc. v. Minn. Dep’t of Transp.,

345 F.3d 964, 967–68 (8th Cir. 2003); Adarand Constructors, Inc. v. Slater, 228 F.3d 1147, 1155

(10th Cir. 2000).

       On October 13, 2023, Plaintiffs filed a Complaint, ECF No. 1, challenging the facial

constitutionality of the DOT DBE program. Plaintiffs assert in conclusory fashion that they are

“qualified, willing, and able” to bid or compete for “contracts impacted by the federal DBE

program” but “remain at a disadvantage because of their race and gender.” Compl. ¶¶ 8, 11–12.

Plaintiffs also summarily allege that “the federal DBE program has negatively impacted Plaintiffs

and is currently in effect, discriminating against Plaintiffs on the basis of race and gender.” Id.

¶ 32. But Plaintiffs do not identify their own race or gender, plead any facts suggesting that

Plaintiffs would qualify as DBEs without regard to any race- or gender-based presumption, or

identify any contracts or awards in either Indiana or Kentucky that have been awarded in a project

with DBE subcontracting goals and for which they might otherwise have qualified or, indeed,

competed.



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        Defendants move to dismiss Plaintiffs’ Complaint for the following independent reasons.

See Fed. R. Civ. P. 12(b)(1), 12(b)(6), 12(b)(7). First, under Rule 12(b)(6), Plaintiffs fail to meet

Rule 8’s basic pleading requirements by which Plaintiffs must make sufficient factual allegations

to raise the possibility of their right to relief above the speculative level. As noted, Plaintiffs fail

to identify the race or gender of the Plaintiff businesses’ owners, thus rendering any equal

protection claim fatally deficient. Nor do Plaintiffs provide any information about the contracts

they allegedly “competed for and lost out on,” Compl. ¶ 38, to DBEs—such as what state or local

agency awarded the contract, when the award was made, whether Plaintiffs were otherwise

qualified for them, or why they lost out on them.

        Second, the Court should dismiss the Complaint under Rule 12(b)(1) for lack of subject

matter jurisdiction because Plaintiffs fail to plausibly allege injury in fact, traceability, or

redressability as required for Article III standing. Plaintiffs do not allege that they have ever lost

out on contracts with DBE participation goals or that they are likely to do so in the future. Nor do

they allege that they meet the race- and gender-neutral requirements for DBE certification.

Plaintiffs therefore do not plausibly allege that any alleged disadvantage they face as non-DBEs is

traceable to the program’s rebuttable presumptions or would be redressed by enjoining the use of

those presumptions.

        Third, the Court should dismiss the Complaint under Rule 12(b)(7) because it fails to name

as a defendant any state or local agency that applies the presumptions in certifying DBEs, sets

contract-specific DBE goals, places contracts out for bid, or selects prime contractors’ bids.

Consequently, the Court cannot accord complete relief among existing parties in those entities’

absence. Finally, the Court should dismiss Plaintiffs’ Administrative Procedure Act claim under

Rule 12(b)(1) and Rule 12(b)(6) because it fails for the same substantive reasons that their


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constitutional claim does, and because it is time-barred.

I.     BACKGROUND

       The DOT DBE program is designed to ensure that state and local recipients of certain DOT

funds award and administer contracts in DOT-funded highway, transit, and airport projects to small

businesses in a nondiscriminatory manner. See 49 C.F.R. § 26.1. Congress first mandated the DOT

DBE program in 1983,1 and it has since regularly reauthorized the program in surface

transportation bills,2 most recently in the Infrastructure Investment and Jobs Act. See Pub. L. No.

177-58, § 11101(e), 135 Stat. 429, 448–450 (Nov. 15, 2021) (Infrastructure Act).3 Congress has

established a national aspirational goal of spending at least 10% of funds through DBEs, see 49

C.F.R. § 26.41, but the Secretary of Transportation may also determine alternate goals, see Pub.

L. No. 117-58, § 11101(e)(3), 135 Stat. 449. To meet this national aspirational goal, recipients of

DOT funding set their own local aspirational DBE goals and “cannot be penalized, or treated by

the Department as being in noncompliance with this rule, because [their] DBE participation falls

short of [the recipients’] overall goal,” as long as they operate the DBE program in good faith. 49

C.F.R. § 26.47.

        DOT regulations define a DBE as a for-profit small business concern: (1) “that is at least

51 percent owned by one or more individuals who are both socially and economically




1
  See Surface Transportation Assistance Act of 1982, Pub. L. No. 97-424, § 105(f) (1983).
2
  See Surface Transportation and Uniform Relocation Assistance Act of 1987, Pub. L. No. 100-17,
§ 106(c) (1987); Intermodal Surface Transportation Efficiency Act of 1991, Pub. L. No. 102-240,
§ 1003(b)(1) (1991); Transportation Equity Act for the 21st Century, Pub. L. No. 105-178, §
1101(b)(1) (1998); Safe, Accountable, Flexible, Efficient Transportation Equity Act: A Legacy for
Users, Pub. L. No. 109-59, § 1101(b)(2) (2005); Moving Ahead for Progress in the 21st Century
Act, Pub. L. No. 112-141, § 1101(b)(3) (2012); Fixing America’s Surface Transportation Act, Pub.
L. No. 114-94, § 1101(b)(3) (2015).
3
     Available     here:    https://www.govinfo.gov/content/pkg/PLAW-117publ58/pdf/PLAW-
117publ58.pdf.
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disadvantaged . . . ; and (2) [w]hose management and daily business operations are controlled by

one or more of the socially and economically disadvantaged individuals who own it.” Id. § 26.5.

A small business concern is a business that adheres to the requirements of “section 3 of the Small

Business Act and Small Business Administration regulations implementing it,” id. (citing 13

C.F.R. pt. 121), and that also has “average annual gross receipts . . . over the firm’s previous three

fiscal years” of $30.40 million or less, id. § 26.65(b).4 DOT DBE regulations also prescribe

ownership structure requirements for partnerships, corporations, and limited liability companies,

requiring at least 51% ownership by a DBE for each type of entity. Id. § 26.69(b). Only an

independent business whose “viability . . . does not depend on its relationship with another firm or

firms” may be certified as a DBE. Id. § 26.71.

       DOT provides funds and grants to state transportation agencies and other local recipients,

and it is those agencies and recipients that contract directly with private transportation construction

firms. See id. § 26.1. Recipients of DOT financial assistance—i.e., state and local transportation

agencies—are required to establish narrowly tailored DBE participation goals based on local

market conditions. See id. § 26.45.5 A recipient must meet the maximum feasible portion of its

overall goal by using race- and gender-neutral means of facilitating DBE participation, typically




4
  A DOT regulation sets the annual gross receipts cap at $26.29 million and indicates that DOT
“will adjust this amount for inflation on an annual basis.” 26 C.F.R. § 26.65(b). The current cap,
effective March 1, 2023, is $30.40 million. See www.transportation.gov/DBEsizestandards.
5
  The Kentucky Transportation Cabinet (KYTC) has set the 2023–25 DOT DBE overall goal at
12.7%, of which it expects to meet 2.3% through race-neutral means. See Kentucky Transportation
Cabinet DBE Goal Methodology Federal Fiscal Year (FY) 2023–2025, at 1 (available here:
https://transportation.ky.gov/Civil-Rights-and-Small-Business-
Development/Documents/FY%2023-25%20Goal%20Methodology%207.16.22.pdf); see also
New England Health Care Emps. Pension Fund v. Ernst & Young, LLP, 336 F.3d 495, 501 (6th
Cir. 2003) (“A court that is ruling on a Rule 12(b)(6) motion may consider materials in addition to
the complaint if such materials are public records or are otherwise appropriate for the taking of
judicial notice.”).
                                                  5
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through open contracting in which DBE contractors participate like any other bidders or when

DBEs are awarded subcontracts on a prime contract that does not carry a DBE goal. Id. § 26.51(a).

If and only if a recipient cannot meet its DBE goal through exclusively race- and gender-neutral

means, then it sets individual DBE subcontracting goals on at least some prime contracts. Id.

§ 26.51(d)–(e). If the contract includes a DBE goal, typically a percentage value of the overall

contract, the prime contractor must meet the goal by hiring DBE subcontractors or show that it

could not do so despite using good-faith efforts. Id. § 26.53 & App. A. If the prime contractor used

good-faith efforts, it may not be denied an award because of its failure to meet the goal. 49 C.F.R.

§ 26.53. Recipients of DOT funding are required to certify the eligibility of DBE firms to

participate in their DOT-assisted contracts. Id. §§ 26.81–91.

       As noted, DBE firms must be owned and controlled by socially and economically

disadvantaged individuals. See id. § 26.5. Congress did not limit the category of socially and

economically disadvantaged persons to persons of any particular race, ethnicity, or gender.

Socially disadvantaged individuals are defined in a race-neutral manner as “those who have been

subjected to racial or ethnic prejudice or cultural bias within American society” because of their

identities as members of groups and without regard to their individual qualities. Id. However, based

on evidence of discrimination and its lingering effects in many aspects of surface transportation-

related business in both public and private markets, Congress concluded that members of specified

groups are entitled to a rebuttable presumption of social and economic disadvantage: Black

Americans, Hispanic Americans, Native Americans, Asian-Pacific Americans, Subcontinent

Asian Americans, and women of any race. Id. In reauthorizing the DOT DBE program under the

Infrastructure Act in 2021, Congress found that:

       •   “[W]hile significant progress has occurred due to the establishment” of the program,
           “discrimination and related barriers continue to pose significant obstacles for minority-

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           and women-owned businesses seeking to do business” in the transportation industry,
           Pub. L. No. 117-58, § 11101(e)(1)(A), 135 Stat. at 448;

       •   These barriers merit the continuation of the DOT DBE program, id. § 11101(e)(1)(B),
           135 Stat. at 448; and

       •   The “testimony and documentation of race and gender discrimination from numerous
           sources, including congressional hearings and roundtables, scientific reports, reports
           issued by public and private agencies, news stories, reports of discrimination by
           organizations and individuals, and discrimination lawsuits . . . show that race- and
           gender-neutral efforts alone are insufficient to address the problem,” id.
           § 11101(e)(1)(C), 135 Stat. at 449.

Taken together, this evidence: (1) demonstrates that “discrimination across the United States poses

a barrier to full and fair participation in surface transportation-related businesses of women

business owners and minority business owners and has impacted firm development and many

aspects of surface transportation-related business in the public and private markets”; and (2)

“provide[s] a strong basis that there is a compelling need for the continuation of the [DOT DBE

program] to address race and gender discrimination in surface transportation-related business,” id.

§ 11101(e)(1)(D)–(E), 135 Stat. at 449.

       The rebuttable presumption of social and economic disadvantage for members of the

groups identified in 49 C.F.R. § 26.5 does not automatically entitle them to participate in the DOT

DBE program. To the contrary, recipients of DOT funding must require DBE “applicants to submit

a signed, notarized certification that each presumptively disadvantaged owner is, in fact, socially

and economically disadvantaged,” 49 C.F.R. § 26.67(a)(1), “certify that he or she has a personal

net worth that does not exceed $1.32 million,” id. § 26.67(a)(2)(i), “support [the certification] with

a signed, notarized statement of personal net worth, with appropriate supporting documentation,”

id. § 26.67(a)(2)(ii), and “on a case-by-case basis, require additional financial information from

the owner of an applicant firm,” id. The presumption of economic disadvantage is rebutted if the

owner submits a statement that shows a personal net worth in excess of $1.32 million or

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demonstrates the owner’s ability to accumulate substantial wealth. Id. § 26.67(b).

       The DOT DBE program is not limited to those who fall within the categories of persons

who are presumed disadvantaged. To the contrary, firms that are “owned and controlled by

individuals who are not presumed to be socially and economically disadvantaged (including

individuals whose presumed disadvantage has been rebutted) may apply for DBE certification” by

showing that they are, in fact, socially and economically disadvantaged. Id. § 26.67(d) (emphasis

added). To show social disadvantage, the applicant must identify circumstances beyond their

control that caused such disadvantage, including “at least one objective distinguishing feature that

has contributed to social disadvantage, such as race, ethnic origin, gender, disability, long-term

residence in an environment isolated from the mainstream of American society, or other similar

causes not common to individuals who are not socially disadvantaged.” Id. § 26, App. E pt. 1(A).

Economic disadvantage is also defined race-neutrally, requiring a showing that an applicant’s

“ability to compete in the free enterprise system has been impaired due to diminished capital and

credit opportunities as compared to others in the same or similar line of business who are not

socially disadvantaged.” Id. § 26, App. E. If the individual’s personal net worth does not exceed

$1.32 million, and the individual shows social and economic disadvantage, they will be deemed

socially and economically disadvantaged and are therefore eligible for participation in the DBE

program. Id. § 26.67(d) & App. E.

II.    ARGUMENT

       A.      Plaintiffs Fail to State a Claim upon Which Relief Can Be Granted Because
               Their Complaint Fails to Meet Rule 8’s Pleading Standard.

       Because Plaintiffs have not made factual allegations sufficient to raise a right to relief

above a “speculative level,” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007), the Court should

dismiss their Complaint under Federal Rule of Civil Procedure 12(b)(6). A complaint must

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“contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009) (quoting Twombly, 550 U.S. at 570). A claim

does not have facial plausibility when the “well-pleaded facts do not permit the court to infer more

than the mere possibility of misconduct.” Iqbal, 556 U.S. at 679. The factual allegations “must do

more than create speculation or suspicion of a legally cognizable cause of action; they must show

entitlement to relief.” League of United Latin Am. Citizens v. Bredesen, 500 F.3d 523, 527 (6th

Cir. 2007) (citation omitted). This showing “requires more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not do.” Ass’n of Cleveland Fire

Fighters v. City of Cleveland, 502 F.3d 545, 548 (6th Cir. 2007) (quoting Twombly, 550 U.S. at

555) (internal quotation marks omitted). “Where a complaint pleads facts that are ‘merely

consistent with’ a defendant’s liability, it ‘stops short of the line between possibility and

plausibility of entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557). “Thus, it is

incumbent upon the Court to first sort through the plaintiff’s complaint and separate the factual

allegations, which are accepted as true and contribute to the viability of the plaintiff’s claim, from

the legal conclusions that are only masquerading as facts and need not be accepted.” Evans v.

Armenta, 134 F. Supp. 3d 1052, 1057 (E.D. Ky. 2015).

        Even construing “the complaint in the light most favorable to plaintiffs [and] accept[ing]

all well-pled factual allegations as true,” League of United Latin Am. Citizens, 500 F.3d at 527,

Plaintiffs’ Complaint fails the Iqbal standard. It is impossible to decipher from the Complaint who

Plaintiffs are, how they were injured, or by whom. Plaintiffs have stated only that they have bid

on contracts in Kentucky and Indiana, that they “regularly” do so, that some of these contracts

have DBE participation goals, and, vaguely, that “Kentucky and Indiana have implemented federal

requirements for DBE goals through race-conscious means.” See Compl. ¶¶ 35–39. Although



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Plaintiffs allege in generalized fashion that they “lost out” to DBE firms despite being the lowest

bidder on “several federally funded projects,” id. ¶ 8, they indicate nothing about the nature of

those projects, whether they were in Plaintiffs’ industries, whether they would have otherwise been

qualified for an award of those contracts, whether they would have qualified for a DBE contract if

the program were entirely race- and gender-neutral, or whether the contracts in those industries

had DBE goals or used race- or gender-based means to meet them.6 Without these vital facts,

Defendants and the Court are required to speculate on how Plaintiffs were injured and by whom.

       The Complaint’s legal conclusions about race and gender discrimination, see, e.g., Compl.

¶¶ 31, 40–42, although “couched as . . . factual allegation[s],” Iqbal, 556 U.S. at 678, are

nonetheless deficient because Plaintiffs do not even identify the race or gender of their owners. If

Plaintiffs are owned and controlled by individuals that the DBE program presumes to be

disadvantaged—i.e., women or members of certain racial groups—then any injury they have

allegedly suffered would not be caused by the race- and gender-based program elements that they

challenge, and they could not plausibly allege that the program discriminates against them on the

basis of race or gender. See, e.g., Nathan v. Papa John’s Int’l, Inc., 2011 WL 2173739, at *1 (W.D.

Ky. June 2, 2011) (dismissing employment discrimination complaint when it failed to identify the

plaintiff’s race). Moreover, Plaintiffs do not explain whether they were affected by, and are




6
  This type of information is publicly available. For example, KYTC provides project summaries,
descriptions, DBE goals, and bidding procedures at Construction Procurement, available at
https://transportation.ky.gov/Construction-Procurement/Pages/default.aspx (last visited January
16, 2024). Specific contracts with DBE goal information and project details are also publicly
available         at     linked     websites        including        Notice       to      Contractors,
https://transportation.ky.gov/Construction-Procurement/Publications/2022-07-
21/Notice%20to%20Contractors.pdf            (last        visited       January        16,      2024);
https://transportation.ky.gov/Construction-Procurement/Proposals/101-GRANT-22-1033.pdf
(last     visited    January    16,   2024);      and     https://transportation.ky.gov/Construction-
Procurement/Proposals/202-OHIO-22-4446.pdf (last visited January 16, 2024).
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complaining about, the race-based presumptions, the sex-based presumption, or both.7

        Even if this Court were to disregard Plaintiffs’ failure to allege the race or gender of their

owners, Plaintiffs’ Complaint, at most, “pleads facts that are ‘merely consistent with’” Defendants’

liability, and “‘stops short of the line between possibility and plausibility of entitlement to relief.’”

Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557). Because DBE participation is not

limited to businesses owned by women or members of certain racial or ethnic groups, the fact that

Plaintiffs may have lost a subcontracting bid to a DBE by itself says nothing about whether the

contract was awarded based on the winning business owner’s race or gender; the subcontract may

have been awarded to a DBE that established its status without relying on the presumptions and

without regard to race or gender. Thus, Plaintiffs’ allegation that they have lost or will lose bids to

DBEs is insufficient to plead a race- or gender-based equal protection claim because it requires the

Court to speculate on whether those contracts were awarded to a DBE based on the presumptions.

Cf. Midwest Fence Corp. v. U.S. Dep’t of Transp., 84 F. Supp. 3d 705, 722 (N.D. Ill. 2015) (finding

that the plaintiff contractor’s challenge to the Illinois Department of Transportation’s

implementation of the DOT DBE program was supported by “evidence of lost . . . bids, decreased



7
 On December 15, 2023, Plaintiffs moved for a preliminary injunction and appended declarations
purporting to describe, at least in part, Plaintiffs’ ownership interests in their respective businesses.
However, the Court should not consider those declarations in conjunction with this motion to
dismiss. See Bates v. Green Farms Condo. Ass’n, 958 F.3d 470, 484 (6th Cir. 2020) (“If a
complaint fails to state a claim even under the liberal requirements of the federal rules, the plaintiff
cannot cure the deficiency by inserting the missing allegations in a document that is not either a
complaint or an amendment to a complaint.”) (quoting Harrell v. United States, 13 F.3d 232, 236
(7th Cir. 1993) (internal quotation marks omitted)); see also 2 Moore’s Federal Practice—Civil
§ 12.34[2] (3d. ed. 2023) (“In deciding whether to dismiss, the court may consider only the facts
alleged in the pleadings, documents attached as exhibits or incorporated by reference in the
pleadings, and matters of which the judge may take judicial notice.”). Yet even if this Court were
to consider these additional facts, Plaintiffs still have not identified the race or gender of the
business owners, Plaintiffs’ business structures, or Plaintiffs’ ability to qualify as socially or
economically disadvantaged absent the race- and gender-based presumptions.

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revenue, and difficulties sustaining its business”). And the mere fact that, as alleged, Plaintiffs “in

some cases” lost out on federally funded contracts to DBEs even though Plaintiffs had lower bids

is even less susceptible to an inference of race- or gender-based discrimination. As noted above,

DBE status is available to applicants without regard to the racial and gender-based presumptions

and not all KYTC contracts have DBE goals. See supra at 5 n.5. At most, Plaintiffs allege that they

are treated unequally to DBEs. Plaintiffs plead no facts by which this Court could conclude that

the DOT DBE program’s race- or gender-based presumptions have hindered Plaintiffs’ own ability

to establish DBE status (and thus be afforded the same alleged advantages as other DBEs).

        In sum, Plaintiffs’ Complaint fails to allege sufficient facts to demonstrate “more than a

sheer possibility” that Defendants acted unlawfully. Iqbal, 556 U.S. at 678 (citing Twombly, 550

U.S. at 556). Accordingly, this Court should dismiss Plaintiffs’ Complaint for failure to state a

claim upon which relief can be granted.

        B.      Plaintiffs Fail to Plausibly Allege Article III Standing.

        The Court should dismiss Plaintiffs’ Complaint under Federal Rule of Civil Procedure

12(b)(1) for lack of Article III standing. To establish standing, each Plaintiff must show: “(i) that

[it] suffered an injury in fact . . . ; (ii) that the injury was likely caused by the defendant; and (iii)

that the injury would likely be redressed by judicial relief.” TransUnion LLC v. Ramirez, 594 U.S.

413, 423 (2021) (citation omitted). Because these three elements of standing are “an indispensable

part of the plaintiff’s case, each element must be supported in the same way as any other matter

on which the plaintiff bears the burden of proof, i.e., with the manner and degree of evidence

required at the successive stages of the litigation.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561

(1992). On a motion to dismiss, a complaint’s standing allegations must satisfy the same

requirements as its other allegations—i.e., it must “contain sufficient factual matter, accepted as



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true, to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 677 (2009) (quoting

Twombly, 550 U.S. 544, 570 (2007)); see also In re E.I. du Pont de Nemours & Co. C-8 Personal

Injury Litig., 87 F.4th 315, 320–21 (6th Cir. 2023) (noting that “[e]ven at the pleadings stage, of

course, a complaint must do more than just check the boxes for the elements necessary for a claim

to proceed,” and holding that plaintiff failed to plausibly allege standing).

                1.      Plaintiffs Fail to Plausibly Allege an Injury in Fact.

        Plaintiffs’ Complaint is replete with factual deficiencies, as discussed above. Based on

those deficiencies and more, Plaintiffs have failed to meet their burden to demonstrate injury in

fact. To establish an injury in fact, a plaintiff must plead that he or she suffered “‘an invasion of a

legally protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not

conjectural or hypothetical.’” Gerber v. Herskovitz, 14 F.4th 500, 505–06 (6th Cir. 2021) (quoting

Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016)).

                        a.      Plaintiffs Do Not Allege They Have Lost Out on Specific Contracts
                                with DBE Participation Goals or that They Likely Will Do So in the
                                Future.

        In the context of an equal protection challenge to racial or gender classifications, a plaintiff

may show injury in fact where he adequately pleads that he is “able and ready to bid on contracts

and that a discriminatory policy prevents [him] from doing so on an equal basis.” Ne. Fla. Chapter

of Associated Gen. Contractors of Am. v. City of Jacksonville, Fla. (Jacksonville), 508 U.S. 656,

666 (1993). In Jacksonville, an association of general contractors established an injury in fact

where many of its members “regularly bid on and perform[ed] construction work for the City of

Jacksonville,” and “would have . . . bid on . . . designated set aside contracts but for the restrictions

imposed” by a city ordinance that set aside those contracts for certain minority-owned businesses.

Id. at 659 (internal quotation marks and citation omitted); see also Bruckner v. Project Mgmt.



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Corp., __ F. Supp. 3d __, 2023 WL 2744026, at * 4 (M.D. Fla. Mar. 31, 2023) (“a plaintiff must

‘clearly’ ‘allege facts demonstrating’ that he is ‘able and ready’ to bid on contracts under a

discriminatory scheme”) (quoting Spokeo, 578 U.S. at 338; Jacksonville, 508 U.S. at 666).

       Plaintiffs allege that they are “qualified, willing, and able to apply for” transportation

contracts, “but because the federal DBE program treats individuals differently based on race and

gender, Plaintiffs cannot compete for contracts on an equal footing.” Compl. ¶ 51. These

conclusory allegations are not enough, however, to establish injury in fact because Plaintiffs fail

to allege that they have been injured by a discriminatory policy or scheme. Unlike the program in

Jacksonville, the DOT DBE program does not set aside contracts for DBEs; any firm can bid on

and be awarded any contract. See Jacksonville, 508 U.S. at 658–59. Also, unlike the program at

issue in Jacksonville, DBE status is not limited to firms that are owned by individuals of any

particular race or gender; any person may apply for DBE status by making the necessary factual

showing. See id. at 658–61. And while some contracts include DBE participation goals, Plaintiffs

do not allege that they have lost out on such contracts or that they are likely to do so in the future—

or that they could qualify for DBE status by making the race-neutral factual showing.

       This case is therefore closely similar to another one in which a district court recently

determined that a plaintiff lacked standing to challenge the DOT DBE program. See Bruckner,

2023 WL 2744026, at *8. In Bruckner, the court stressed that the complaint lacked “any detail

regarding the kinds of contracts that the [p]laintiffs would like to pursue,” and instead alleged

nothing more than a “bare statement of intent” that they were qualified, willing, and able to bid on

DOT DBE program contracts. Id. at *4–5 (quoting Carney v. Adams, 592 U.S. 53, 65 (2020)

(internal quotation marks omitted)). That court went on to hold that even if the plaintiffs had

plausibly alleged that they were ready and able to bid on some DOT-funded contracts, that was not



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sufficient to allege an injury in fact “because States and localities sometimes award contracts

without considering the contractor’s race or gender,” and the plaintiffs did not allege that they were

ready and able to bid on contracts “that use discriminatory means.” Id. at *7.8

       The same is true here. As Plaintiffs admit, not all contracts in Kentucky and Indiana contain

a DBE participation goal. See Compl. ¶ 35 (alleging generally that Kentucky and Indiana advertise

some contracts that have DBE participation subcontracting goals). And non-DBE firms are fully

eligible even with respect to contracts with participation goals. Plaintiffs allege that they have bid

on contracts with goals, see id. ¶ 37, and they also allege that they have lost out on contracts to

DBE firms, see id. ¶ 38. But they do not plausibly allege that the contracts they lost out on were

contracts with goals, or that they are likely to do so in the future. They therefore do not allege that

the DBE program is causing them any injury.9




8
  The Complaint also mischaracterizes the DOT DBE program as containing “discriminatory . . .
set-asides[.]” Compl. ¶ 2. But recipients “may not set-aside contracts for DBEs . . . except that, in
limited and extreme circumstances, [they] may use set-asides when no other method can be
reasonably expected to redress egregious instances of discrimination,”49 C.F.R. § 26.43(b)
(emphasis added); Plaintiffs do not plausibly allege that such “limited and extreme circumstances”
have ever affected them. Cf. Jacksonville, 508 U.S. at 658 (noting that Jacksonville’s program
“required that 10% of the amount spent on city contracts be set aside each fiscal year for” minority
business enterprises); Vitolo v. Guzman, 999 F.3d 353, 356–57 (6th Cir. 2021) (enjoining use of a
limited Restaurant Relief Fund available only to disadvantaged businesses for the first 21 days);
Ultima Servs. Corp. v. U.S. Dep’t of Agric., 2023 WL 4633481, at *5 (E.D. Tenn. July 19, 2023)
(describing the federal contracts “set aside” for the Small Business Administration’s Section 8(a)
program).
9
  Plaintiffs allege that they submitted low bids for DOT-funded contracts and that the contracts
were awarded to DBEs. See Compl. ¶¶ 8, 38. But selection of a DBE (rather than one of the
Plaintiffs) for a contract does not mean that the contract necessarily had DBE participation goals.
DBEs can and do bid on contracts without DBE goals, and recipients and prime contractors may
choose not to award contracts to the low bidder for reasons unrelated to DBE status (for example,
based on previous relationships or the quality of a bidder’s work).
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                       b.      Plaintiffs’ Attempt to Manufacture Injury in Fact Based on Students
                               for Fair Admissions Is Without Merit.

       Plaintiffs attempt to avoid the injury in fact requirements of Jacksonville, see 508 U.S. at

666, by alleging that the DOT DBE program injures them because it uses race as a “negative” and

a “stereotype,” Compl. ¶ 6 (citation omitted). However, the government may employ race-based

measures in “remedial settings” when necessary to dispel the effects of invidious discrimination.

City of Richmond v. J.A. Croson Co., 488 U.S. 469, 493 (1989). Croson controls here, and

Plaintiffs’ attempts to argue through their Complaint that the program’s race-based presumption is

per se injurious is without merit. See, e.g., Compl. ¶¶ 1, 4–6, 9 (quoting Students for Fair

Admissions, Inc. v. President & Fellows of Harvard Coll. (SFFA), 600 U.S. 181 (2023)). In SFFA,

the Supreme Court held that Harvard’s and the University of North Carolina’s use of racial

classifications in university admissions to promote the educational benefits of a diverse student

body in the classroom could not be “reconciled with the guarantees of the Equal Protection

Clause.” 600 U.S. at 230.10 At the same time, SFFA affirmed that “remediating specific, identified

instances of past discrimination that violated the Constitution or a statute” is a compelling interest.

Id. at 207 (citing Parents Involved in Cmty. Sch. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 720

(2007); Shaw v. Hunt, 517 U.S. 899, 909–10 (1996)); see also id. at 215 (noting the permissibility

of “a race-based benefit” in employment discrimination cases when necessary to make “members

of the discriminated class ‘whole for [the] injuries [they] suffered’”) (quoting Franks v. Bowman

Transp. Co., 424 U.S. 747, 763 (1976)) (alterations in original). Nothing in SFFA affects Croson’s

conclusion that “evidence of a pattern of individual discriminatory acts can, if supported by

appropriate statistical proof, lend support to a local government’s determination that broader



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  The Court also held that these admissions policies violated Title VI of the Civil Rights Act of
1964. See 600 U.S. at 198 n.2.
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remedial relief is justified.” Croson, 488 U.S. at 509 (citing Int’l Bhd. of Teamsters v. United

States, 431 U.S. 324, 338 (1977)).

       Moreover, to the extent that SFFA cautions against “us[ing] race as a stereotype or

negative,” SFFA, 600 U.S. at 213, see Compl. ¶ 6, the DOT DBE program does neither. First, the

program does not rely on “impermissible racial stereotypes.” Id. at 220. Rather, Congress made

specific findings as to the continuing effects of discrimination in the transportation construction

industry, see supra at 6–7, and those findings are supported by overwhelming Congressional

evidence of discrimination and its lingering effects. See, e,g., Remote Hearing Before the

Committee on Transportation and Infrastructure, 116th Cong. 64 (Sept. 23, 2020) (statements and

testimony of Evalynn Williams, Geri E. Boyer, Mary T. Lerdahl, and Jon S. Wainwright detailing

recent instances and evidence of discrimination in industries that DOT regulates and the need for

the DOT DBE program to remediate such discrimination).11 Second, the DOT DBE program does

not treat race as a “negative” as the Supreme Court construed the term in SFFA because, unlike

admission to Harvard’s or UNC’s freshman class, participation in the DBE program is not a “zero-

sum” situation. SFFA, 600 U.S. at 218. DBE participation is not capped at a certain number, and

the program provides an avenue for members of any group of any race or gender to apply for DBE

certification on the basis of their social and economic disadvantage. See 49 C.F.R. § 26.67(d). And

once in the program, whether through individual application or rebuttable presumption, all DBEs

are on equal footing with regard to bid submissions.




11
   Available here:      https://www.govinfo.gov/content/pkg/CHRG-116hhrg43413/pdf/CHRG-
116hhrg43413.pdf.
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               2.      Plaintiffs Fail to Plausibly Allege that Their Alleged Injuries Are
                       Traceable to the DOT DBE Program’s Rebuttable Presumptions or
                       Would Be Redressed by Enjoining Application of Those Presumptions.

       Plaintiffs’ failure to show a redressable injury that is fairly traceable to Defendants is an

independent basis for dismissal. To establish standing, “plaintiffs must not only trace an injury in

fact to the defendant’s conduct, but they also must establish that their requested relief will redress

the injury.” Mann Constr., Inc. v. United States, 86 F.4th 1159, 1162 (6th Cir. 2023) (citing Steel

Co. v. Citizens for a Better Env’t, 523 U.S. 83, 103 (1998)). “If that relief does nothing to redress

the alleged injury, a court could do nothing more than issue a jurisdiction-less ‘advisory opinion.’”

Id. (quoting California v. Texas, 141 S. Ct. 2104, 2116 (2021)). And to establish an injury that is

“fairly traceable to the DBE program and its race and gender preferences,” Plaintiffs must do more

than speculate “that invalidating the allegedly unconstitutional preferences would ameliorate

[Plaintiffs’] ability to compete in any way.” Cache Valley Elec. Co. v. Utah Dep’t of Transp., 149

F.3d 1119, 1123 (10th Cir. 1998) (holding that plaintiff lacked standing to challenge DOT DBE

program because “any anticipated redress from a favorable decision is wholly speculative” and

that the plaintiff “adduced no evidence that the elimination of the preferences would result in any

meaningful reduction in the number of qualifying DBEs”).

       Here, Plaintiffs fail to plausibly allege traceability or redressability because they do not

allege that they would qualify under the race- and gender-neutral requirements of the program.

Even if the DOT DBE program’s race- and gender-based presumptions were enjoined, the race-

neutral requirements would remain intact, and Plaintiffs could qualify as DBEs only if they could

show: (1) they are owned and controlled by socially- and economically-disadvantaged individuals;

(2) their owners meet the personal wealth requirements; (3) they are small businesses; (4) their

business structures comply with DOT DBE program requirements; and (5) the businesses are



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independent. See 49 C.F.R. § 26.67. As noted above, Plaintiffs fail to make any of these allegations.

But if Plaintiffs do not meet these race- and gender-neutral requirements—for example, if they are

owned by individuals with a personal net worth exceeding $1.32 million, see 49 C.F.R. § 26.67(b),

or if their average annual gross receipts exceed the cap, see id. § 26.65(b)—then enjoining the

presumptions would leave Plaintiffs in exactly the same position, and they would remain at a

competitive disadvantage relative to other DBEs. See Klaver Constr. Co., Inc. v. Kan. Dep’t of

Transp., 211 F. Supp. 2d 1296, 1304–05 (D. Kan. 2002) (holding that plaintiff lacked standing

because “even if the Court were to declare rebuttable presumptions unconstitutional and enjoin

their use, [plaintiff’s] alleged diminished competitiveness would not be materially altered because

[plaintiff] would still be ineligible to participate in the DBE program for race- and gender-neutral

reasons”); see also Interstate Traffic Control v. Beverage, 101 F. Supp. 2d 445, 453 (S.D. W. Va.

2000) (“Absent fraud, removing the complained-of conduct, the allegedly unconstitutional

rebuttable presumption, from the application process would not alter the number or identity of

socially and economically disadvantaged individuals eligible to participate in DBE.”); Rothe Dev.,

Inc. v. U.S. Dep’t of Def., 836 F.3d 57, 61–64 (D.C. Cir. 2016) (holding that when a program

limited access to “socially and economically disadvantaged” individuals, but contained no

presumptions about which groups were disadvantaged, it did not make race-based classifications

and was subject to rational basis review).

       At bottom, Plaintiffs are complaining of alleged disadvantages stemming from a program

that—setting aside the rebuttable presumptions—could still disadvantage Plaintiffs because of

strict race- and gender-neutral requirements that Plaintiffs fail to allege they could satisfy in any

event. See 49 C.F.R. § 26.5. Thus, Plaintiffs would presumably continue to compete against DBEs

and still face the same alleged disadvantages in competing against them. Because even a favorable



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decision would not “amount to a significant increase in the likelihood that [Plaintiffs] would obtain

relief that directly redresses the injury [allegedly] suffered” because of the DOT DBE program,

they have failed to establish traceability or redressability. Utah v. Evans, 536 U.S. 452, 464 (2002).

       C.      Plaintiffs Fail to Join an Indispensable Party.

       The Court should dismiss Plaintiffs’ Complaint under Federal Rule of Civil Procedure

12(b)(7) for failure to join a necessary party under Federal Rule of Civil Procedure 19. Plaintiffs

brought this suit only against the federal DOT, Secretary Buttigieg, and two Federal Highway

Administration administrators. But they have not named as a defendant any state or local agency,

even though it is those agencies that place DBE goals on federally funded contracts, certify

applicants to the DOT DBE program, and channel DOT funds to contractors. The Court “cannot

accord complete relief among existing parties” in their absence. Fed. R. Civ. P. 19(a)(1)(A).

       Whether a case should proceed in the absence of a particular party is governed by a three-

step analysis. See PaineWebber, Inc. v. Cohen, 276 F.3d 197, 200 (6th Cir. 2001). First, the Court

determines if the omitted party is “necessary to the action.” Id. (quoting Soberay Mach. & Equip.

Co. v. MRF Ltd., 181 F.3d 759, 763–64 (6th Cir. 1999)) (internal quotation marks omitted).

Second, if the omitted party is necessary, the Court determines if personal jurisdiction can be

exercised. See Glancy v. Taubman Ctrs., Inc., 373 F.3d 656, 666 (6th Cir. 2004). And third, if

personal jurisdiction exists, the party shall be joined unless joinder would result in depriving the

Court of subject matter jurisdiction. See id.

       Here, that analysis compels dismissal under Rule 12(b)(7), unless and until Plaintiffs join

one or more state or local agencies over whom the Court has personal jurisdiction and whose

joinder does not deprive the Court of subject matter jurisdiction. Indeed, Plaintiffs appear to

concede that the Court may be unable to accord complete relief among existing parties without the



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joinder of Kentucky and Indiana to their lawsuit. See, e.g., Compl. ¶ 34 (“Kentucky and Indiana

both construct highways with federal aid.”); id. ¶ 41 (“Defendants’ DBE program impacts

contracts and subcontracts offered by non-parties[.]”). This is because it is the state agencies—and

not the federal Defendants named here—that set statewide DOT-DBE goals for transportation

projects, decide which individual projects will have DBE goals, and certify DBEs to the DOT DBE

program. Moreover, the Infrastructure Act and the DOT DBE program’s implementing regulations

require recipients of DOT funds to have a state DBE program of their own, thus underscoring that

recipients, not the DOT, administer their own DBE programs and set goals for DBE participation

in federally funded projects.

       “The ‘complete relief’ requirement concerns the ability of the already-included defendants

to fully satisfy any judgment awarded to the plaintiff.” Camps v. Gore Capital, LLC, 2019 WL

2763902, at *10 (M.D. Tenn. July 2, 2019) (citing Bedel v. Thompson, 103 F.R.D. 78, 80 (S.D.

Ohio 1984)). Thus, complete relief, particularly the injunctive relief Plaintiffs seek, cannot be

accorded in a DOT-fund recipient’s absence, as the named federal Defendants cannot stop

recipients, including state and local agencies in Kentucky and Indiana, from continuing to

implement their own race- or gender-based goals for federally funded projects. Prior lawsuits

challenging the DOT DBE program have generally named a state entity as a codefendant to the

federal DOT. See, e.g., Midwest Fence, 840 F.3d at 932; W. States Paving, 407 F.3d at 983;

Sherbrooke Turf, 345 F.3d at 964; Adarand Constructors, 228 F.3d at 1147; Geyer Signal, Inc. v.

Minn. Dep’t of Transp., Civ. No. 11-321, 2014 WL 1309092, at *12–17 (D. Minn. Mar. 31, 2014);

see also Geod Corp. v. N.J. Transit Corp., 678 F. Supp. 2d 276 (D.N.J. 2009) (naming state

defendants only). Thus, it is not feasible for Plaintiffs to “seek relief against Defendants alone[.]”

Compl. ¶ 41.



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       Accordingly, the Complaint should be dismissed under Rule 12(b)(7), unless and until

Plaintiffs join one or more state or local agencies over whom the Court has personal jurisdiction

and whose joinder does not deprive the Court of subject matter jurisdiction. While Plaintiffs seek

an order “permanently enjoining Defendants from applying race and gender-based classifications

in the Federal DBE program,” Compl., Relief Requested ¶ C, at 17, it is state transportation

agencies like KYTC and the Indiana Department of Transportation that apply race- and gender-

based presumptions at the certification stage for prospective DBEs.12 Although these agencies

enjoy state sovereign immunity, claims for prospective injunctive relief against their officers may

be able to proceed under the Ex parte Young doctrine. See Commercial Warehouse Leasing, LLC

v. Thomas, 2019 WL 187872, *2–3 (W.D. Ky. Jan. 14, 2019) (applying Ex parte Young to exercise

jurisdiction over the secretary of KYTC). Unless Plaintiffs join an appropriate state or local actor,

the case should be dismissed.

       D.      Plaintiffs’ Claim Under the Administrative Procedure Fails Because It Is
               Derivative of Their Equal Protection Claim, and It Is Untimely.

        Plaintiffs also bring a claim under the Administrative Procedure Act (APA), 5 U.S.C.

§ 706(2)(B), challenging the constitutionality of the DOT’s DBE implementing regulations.

Compl. ¶¶ 55–56. Because Plaintiffs allege no independent injuries that flow solely from their

APA claim, the Court should dismiss this claim if it finds either that it lacks jurisdiction over

Plaintiffs’ equal protection claim under Federal Rule of Civil Procedure 12(b)(1) or that Plaintiffs

have failed to state an equal protection claim under Rule 12(b)(6). See, e.g., Asante v. Azar, 656 F.

Supp. 3d 185, 195 (D.D.C. 2023) (“[T]he APA also provides for the Courts to make an independent



12
  The application portal for prospective DBEs may be accessed at Kentucky Transportation
Cabinet, Small Business Development, available at https://transportation.ky.gov/Civil-Rights-and-
Small-Business-Development/Pages/Small-Business-Development.aspx (last visited January 16,
2024).
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assessment of constitutional issues, and the court’s role is the same whether the plaintiff sues

directly under the Constitution or under the APA.”) (internal quotation marks, alteration, and

citations omitted).

       In addition, Plaintiffs’ APA claim should be dismissed as untimely because APA claims

have a six-year statute of limitations. See 28 U.S.C. § 2401(a). “When a party first becomes

aggrieved by a regulation that exceeds an agency’s statutory authority more than six years after

the regulation was promulgated, that party may challenge the regulation without waiting for

enforcement proceedings.” Herr v. U.S. Forest Serv., 803 F.3d 809, 822 (6th Cir. 2015) (emphasis

in original). However, “[e]very circuit to have addressed the issue [of when an APA claim

accrues]—the Fourth, Fifth, District of Columbia, and Ninth Circuits—has concluded that accrual

dates differ between facial and as-applied APA claims.” Linney’s Pizza, LLC v. Bd. of Governors

of the Fed. Reserve Sys., 2023 WL 6050569, at *3 (E.D. Ky. Sept. 15, 2023) (citing N. Dakota

Retail Ass’n v. Bd. of Governors of the Fed. Reserve Sys., 55 F.4th 634, 640–41 (8th Cir. 2022);

Hire Order Ltd. v. Marianos, 698 F.3d 168, 170 (4th Cir. 2012); Dunn-McCampbell Royalty

Interest, Inc. v. Nat’l Park Serv., 112 F.3d 1283, 1287 (5th Cir. 1997); Citizens Alert Regarding

the Env’t v. Env’t Prot. Agency, 102 Fed. App’x 167, 168–69 (D.C. Cir. 2004); Wind River Mining

Corp. v. United States, 946 F.2d 710, 715 (9th Cir. 1991)). With an as-applied challenge, a plaintiff

challenges a specific application of the challenged regulation, such as, for example, whether an

agency has authority to bring enforcement proceedings. See, e.g., Herr, 803 F.3d at 821.

       Here, in contrast, Plaintiffs challenge the DOT DBE program’s implementing regulations

as unconstitutional in all of their applications. See Compl. ¶¶ 10, 58 (seeking to “end[] the DBE

program once and for all” and “set aside these regulations” wholesale). This is a “defining feature”

of a facial challenge. Linney’s Pizza, LLC, 2023 WL 6050569, at *3 (quoting Bucklew v. Precythe,



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139 S. Ct. 1112, 1127 (2019)). This Court has held that facial challenges pursuant to the APA are

subject to a 6-year statute of limitations running from the publication of the regulations at issue.

See id. In Linney’s Pizza, the Court held that a business’s facial challenge to a regulation under the

APA was untimely because, although the business had started within the six-year statute of

limitations, the regulatory challenge could have been brought by another plaintiff with the same

interests. Id. Plaintiffs, who allege “a long history of participating in federally-financed road-

construction projects,” Compl. ¶ 8, are making a facial challenge to a long-running program that

they themselves concede has been in place for over four decades, see Compl. ¶ 2. Thus, their APA

claim “is untimely because it is bringing a facial challenge more than six years after publication of

the regulation at issue.” Linney’s Pizza, LLC, 2023 WL 6050569, at *4.

       Finally, even if the Court finds that Plaintiffs’ APA claim is an as-applied challenge, the

Court should still dismiss it under Rule 12(b)(6) because Plaintiffs have not alleged facts by which

Defendants or this Court could ascertain when the regulation, following its promulgation, first

adversely affected Plaintiffs. See Herr, 803 F.3d at 818 (stating that in order to file a lawsuit under

the APA, the parties must “know or have reason to know that the challenged agency action caused

them to suffer a ‘legal wrong’ or ‘adversely affected or aggrieved’ them ‘within the meaning of

the statute’” and “the challenged agency action must be ‘final’”) (citing 5 U.S.C. §§ 702, 704;

Stupak–Thrall v. Glickman, 346 F.3d 579, 584 (6th Cir.2003)). As explained above, Plaintiffs have

alleged only vaguely that they “regularly bid on and compete for federally funded highway

contracts that contain . . . DBE participation goals as required by the federal DBE program” and

that “[i]n the past, Plaintiffs have competed for and lost out on federally funded contracts to DBE

firms.” Compl. ¶¶ 37–38. These bare allegations, which fail to identify when Plaintiffs first bid on

federally funded projects subject to the DBE program, are plainly insufficient to permit the Court



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to determine when Plaintiffs might have been first “adversely affected or aggrieved” or whether

any DOT action was “final.” See Herr, 803 F.3d at 818. Thus, regardless of whether Plaintiffs’

APA challenge is facial or as-applied, the Court should dismiss it as untimely.

III.   CONCLUSION

       For all these reasons, the Court should grant Defendants’ Motion to Dismiss Plaintiffs’

Complaint.



Dated: January 16, 2024                              Respectfully submitted,

SUBASH IYER                                          KRISTEN CLARKE
 Acting General Counsel                              Assistant Attorney General
PAUL M. GEIER                                        Civil Rights Division
 Acting Assistant General Counsel
  for Litigation and Enforcement                     KAREN D. WOODARD
PETER J. PLOCKI                                      Chief
 Deputy Assistant General Counsel                    Employment Litigation Section
  for Litigation and Enforcement                     Civil Rights Division
CHARLES E. ENLOE
 Senior Trial Attorney                               /s/ Robert Rich
U.S. Department of Transportation                    ANDREW BRANIFF
                                                     (IN Bar No. 23430-71)
                                                     Deputy Chief
                                                     ROBERT RICH
                                                     (DC Bar No. 1016908)
                                                     JILLIAN MOO-YOUNG
                                                     (DC Bar No. 1045088)
                                                     DAVID REESE
                                                     (AL Bar No. ASB-0887-167R)
                                                     Trial Attorneys
                                                     Employment Litigation Section
                                                     Civil Rights Division
                                                     United States Department of Justice
                                                     950 Pennsylvania Avenue NW
                                                     Washington, DC 20530
                                                     (202) 598-9898
                                                     Robert.Rich@usdoj.gov

                                                     Counsel for Defendants



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